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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   OCALA DIVISION

BEATRICE HOPE BRODEUR,

        Plaintiff,

v.                                                               Case No: 5:20-cv-376-Oc-18PRL

COMMISSIONER OF SOCIAL
SECURITY,

        Defendant.


                                             ORDER
        This case is before the Court on the Commissioner’s motion to stay the case for ninety

days, or until the Social Security Agency (“SSA”) regains the capacity to produce the certified

transcript of the record necessary for this case. (Doc. 11). Due to the global COVID-19 crisis, the

SSA has transitioned to a maximum telework environment which prevented it from adhering to its

business process for preparing the transcript of the record in many cases. Additionally, the

complaints filed in SSA cases have increased, which has resulted in a backlog of work, making it

difficult for the agency to process the transcripts in a timely manner.

        Plaintiff has filed a response to the motion setting forth objections including that the

Commissioner has been asking for stays in cases for over seven months now, which will likely

cause delays in the later stages of the proceedings. (Doc. 12). This point is well taken. Plaintiff

notes that she is agreeable to a 60-day extension for the Commissioner to file an answer and

transcript.

        Accordingly, the Commissioner’s opposed motion to stay (Doc. 11) is GRANTED in part.

The Commissioner shall file an answer and the transcript of the record for this case within 60 days.
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       DONE and ORDERED in Ocala, Florida on October 16, 2020.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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